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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA            )
                                    )
    v.                              )     CRIMINAL ACTION NO.
                                    )       1:13cr107-MHT
MILAS ANTWON GRANT, III             )           (WO)

                                ORDER

    Upon       consideration   of       the   recommendation     of    the

United States Magistrate Judge (doc. no. 39), to which no

objections have been filed; and after an independent and

de novo review of the record, it is the ORDER, JUDGMENT,

and DECREE of the court:

    (1) That the recommendation of the United States

           Magistrate Judge (doc. no. 39) is adopted; and

    (2) That defendant Milas Antwon Grant, III’s motion

           to dismiss the indictment for failure to charge

           a    federal   offense       (doc.   no.   29)   is   denied

           without prejudice and with leave to renew at

           trial.

                                 ***
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    At this stage in the proceedings, the government has

adequately alleged that defendant Milas Antwon Grant,

III’s activities had a “minimal effect on interstate

commerce,” United States v. Gray, 260 F.3d 1267 (11th

Cir. 2001), such that the case should go to trial. United

States v. Diecidue, 602 F.2d 535, 547-48 (5th Cir. 1979).*

However, Grant is free to argue, after the evidence is

presented, that the crimes do not have enough of an

effect on commerce to justify federal jurisdiction under

the Hobbs Act, 18 U.S.C. § 924.

    DONE, this the 19th day of November, 2013.


                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE




    *The Eleventh Circuit has adopted as precedent all
decisions of the former Fifth Circuit rendered prior to
October 1, 1981. See Bonner v. City of Prichard, 661 F.2d
1206, 1207 (11th Cir. 1981)(en banc).
